Case 2:03-cv-02946-.]DB-dkv Document 55 Filed 05/11/05 Page 1 of 2 Page|D 66

 

 

IN THE UNITED STATES DISTRICT COURT F"~ED 515 %'. ::?.r;_
FoR THE WESTERN I)ISTRICT 0F TENNESSEE
WESTERN DIVISION 95 "W | ! fm 1 ;: 39
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manning
No. 03-2946 E_r,v’\/
V.
FAYETTE CoUNTY et al;
I)efendant.

»

A)
ORDER GHM/IOTION FOR LEAVE

It is hereby ORDERED, ADJUDGED and DECREED that Plaintiff’S Motion for Leave

 

to Accept Late Filed Response to Defendants’ Motion to Strike isGl@EN-YEB.&(!/uua/ do “Mar(( #

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ITIS so ORDEREDrhiS /LF dayof ZHW 2005.

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United States Bistl=iet-Gou-rt J dge
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with nme 5a and/or 79(3) FHCP on / 'D_)

 

 

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Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

Memphis7 TN 38103

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable J. Breen
US DISTRICT COURT

